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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

ADA JUDITH LOPEZ,                     *

               PLAINTIFF              *        CIVIL ACTION FILE NO:
                                                4:15-cv-19 (CDL)
      v.                              *

VALLEY HEALTHCARE                     *        Jury Trial Demanded
SYSTEM, INC. and
JENNIFER D. B. MELVIN,                *
individually
                                      *
               DEFENDANTS

                                  COMPLAINT

                                INTRODUCTION

      COMES NOW Plaintiff in the above styled matter and files this Complaint

for damages, and in support of this Complaint shows the Court as follows, to wit:

      Plaintiff Ada Judith Lopez, by and through the undersigned counsel, brings

this Complaint against Defendants Valley Healthcare System, Inc. (“Valley”) and

Jennifer D. B. Melvin (“Melvin”) and pleads as follows:


                            SUMMARY OF ACTION

                                          1.

      This is an action for damages against Defendants arising under the Fair

Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq. ("FLSA")

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to recover due, but unpaid, overtime compensation and an additional amount as

liquidated damages and to be reimbursed for her costs of litigation, including her

reasonable attorneys' fees.

                                            2.

      Plaintiff was an hourly, non-exempt employee of Defendants and brings this

action under the FLSA for unpaid overtime that accrued during the period of her

employment with the same.

                                  JURISDICTION

                                            3.

      This Court has subject matter jurisdiction over the present action under

Article III, § 2 of the United States Constitution, FLSA §16(b), 29 U.S.C. §216(b),

28 U. S.C §§1331 and 1337, because this case arises under the FLSA, a federal

statute that affects interstate commerce.

                                            4.

      Venue properly lies in the Middle District of Georgia, Columbus Division,

under 28 U.S.C. §1391 because Valley is located in this judicial district; and all the

events giving rise to the claims herein occurred in this judicial district.

                                      PARTIES

                                            5.

      Plaintiff in this case is a female citizen of the United States and of the State
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of Georgia. For purposes of this action, she submits herself to the jurisdiction of

the Court.

                                           6.

      Defendant Valley Healthcare System, Inc. in this case is a DOMESTIC

corporation and has its principal place of business located at 1600 Fort Benning

Road, Columbus, Georgia 31903. Defendant VALLEY may be served with

process at the office of its registered agent for service of process: Valley

Healthcare System, Inc. c/o W. Donald Morgan, Esq, Registered Agent, 1661 13th

Street, Columbus, GA 31901.

                                           7.

      Defendant VALLEY is subject to the personal jurisdiction of this Court.


                                           8.

      Defendant, Jennifer D. B. Melvin resides within Muscogee County, Georgia.

Melvin is the Chief Financial Officer of Valley, and sets the policies and

procedures regarding employee compensation, she is responsible for the

classification of hourly/non-exempt employees such that neither she, nor her

company, will have to pay overtime that is otherwise required and authorized

pursuant to law. She is an employer as defined by the FLSA. Defendant Melvin



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may be served with process at the location of VALLEY, 1600 Fort Benning Road,

Columbus, GA 31903.

                                          9.

      Melvin is subject to the personal jurisdiction of this Court.

                                         10.

      Plaintiff was employed by Defendants from July 12, 2012 until November

21, 2014. This makes a total of 123 weeks in Defendants’ employ, rounded down.

                                         11.

      At all times relevant to this suit, Plaintiff was an "employee" of Valley as

defined in the FLSA § 3(e)(1), 29 U.S.C. § 203(e)(1).

                                         12.

      At all times material hereto, Plaintiff has been “engaged in commerce” as an

employee of VALLEY as defined in the FLSA, § 7(a)(1), 29 U.S.C. § 207(a)(1).

                                         13.

      At all times material hereto, VALLEY has been an "employer" of Plaintiff

as defined in FLSA § 3(d), 29 U.S.C. §203(d).

                                         14.

      At all times material hereto, VALLEY was an “enterprise engaged in

commerce or in the production of goods for commerce” as defined in the FLSA, §

7(a)(1), 29 U.S.C. § 207(a)(1).
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                                          15.

      During 2011, VALLEY had two or more “employees engaged in commerce”

as defined by 29 U.S.C. § 203(s)(1)(A).

                                          16.

      During 2012, VALLEY had two or more “employees engaged in commerce”

as defined by 29 U.S.C. § 203(s)(1)(A).

                                          17.

      During 2013, VALLEY had two or more “employees engaged in commerce”

as defined by 29 U.S.C. § 203(s)(1)(A).

                                          18.

      During 2014, VALLEY had two or more “employees engaged in commerce

as defined by 29 U.S.C. § 203(s)(1)(A).

                                          19.

      During 2011 VALLEY had an annual gross volume of not less than

$500,000 (exclusive of excise taxes at the retail level which are separately stated)

within the meaning of 29 U.S.C. § 203(s)(1)(A).

                                          20.

      During 2012-2014, VALLEY had an annual gross volume of sales made or

business done of not less than $500,000 (exclusive of excise taxes at the retail level

which are separately stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).
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                                         21.

       At all times material hereto, VALLEY was an “enterprise engaged in

commerce or in the production of goods for commerce" as defined in FLSA §

3(s)(1), 29 U.S.C. § 203(s)(1).

                                         22.

       At all times material hereto, Melvin exercised operational control over the

work activities of Plaintiff.

                                         23.

       At all times material hereto, Melvin was involved in the day to day operation

of VALLEY.

                                         24.

       At all times material hereto, VALLEY vested Melvin with supervisory

authority over Plaintiff.

                                         25.

       At all times material hereto, Melvin exercised supervisory authority over

Plaintiff.

                                         26.

       At all times material hereto, Melvin scheduled Plaintiff’s working hours or

supervised the scheduling of Plaintiff’s working hours.


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                                           27.

         At all times material hereto, Melvin exercised authority and supervision over

Plaintiff’s compensation.

                                           28.

         At all times material hereto, Melvin has been an "employer" as defined in

FLSA § 3(d), 29 U.S.C. § 203(d).

                                           29.

         At all times material hereto, Plaintiff was not exempt from the maximum

hour requirements of the FLSA by reason of any exemption set forth in 29 U.S.C.

§ 213.

                                           30.

         At all times material hereto, Plaintiff was not employed in a bona fide

executive capacity within the meaning of 29 U.S.C. § 213 (a).


                                           31.

         At all times material hereto, Plaintiff was not employed in a bona fide

administrative capacity within the meaning of 29 U.S.C. § 213 (a).


                                           32.

         At all times material hereto, Plaintiff was not employed in a bona fide

professional capacity within the meaning of 29 U.S.C. § 213 (a).
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                                          33.

      At all times material hereto, Plaintiff was not employed in the capacity of an

“outside salesman” so as to be exempt from the minimum and maximum hour

requirements of 29 U.S.C. § 213 (a).

                          THEORIES OF RECOVERY

                 COUNT I — FAILURE TO PAY OVERTIME

                                          34.

      During the course of Plaintiff’s employment with Defendants she was paid a

$12.00 per hour straight time, however, this remuneration did not contemplate the

overtime that she worked, as set out herein below. She worked in medical records

and was called upon to be a Spanish translator in addition to her regular duties.

                                          35.

      Plaintiff normally worked 3 hours more than eight hours daily, Monday

through Thursday during the entire period of her employment with Defendants. As

a result, Plaintiff would accrue no less than 12 hours per week of overtime for

which she was not compensated. Plaintiff was expected to arrive between 8:00 and

8:30 a.m. or before, and would often times not leave from work until well after

7:30 p.m. Usually, Plaintiff would work through her lunch hour because it was not

possible to accomplish the tasks assigned by Defendant Melvin. In addition,


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Plaintiff would be required by her workload to work, as a general rule, two

Saturdays each month, but was not permitted to record this time in VALLEY’s

computer.

                                        36.

      Plaintiff was a non-exempt hourly worker, yet she was not compensated for

the 12 hours per week of overtime for which she worked while in Defendants’

employ.

                                        37.

      Plaintiff worked approximately 50 weeks per year at that schema; from a

weekly standpoint, then, Plaintiff grossed $216/week in unpaid overtime. This is

expressed as follows:

      $216 per week x 50 work weeks per year = $10,800 per year.

                                        38.

      Having determined that Plaintiff’s base overtime pay was $18/hour, the rate

that she should have been paid for a 52 hour work week less 40 hours straight time,

the amount owing to Plaintiff, but unpaid, is expressed in Paragraph 37.

                                        39.

      As set out above and rounding down, Plaintiff was in Defendants’ employ

for approximately 123 weeks. During each of those 123 weeks she worked at least


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12 hours of overtime for which she was not compensated at the legally mandated

rate of 1.5 times her normal hourly wage.

                                         40.

      Because she was a non-exempt, hourly employee and not properly an

exempt, salaried employee, Plaintiff should have been compensated for the 12

hours of overtime she worked each week at the rate of $18/per hour for the 100

weeks she worked for Defendants. This is expressed as follows:

      12 hrs. per wk. x $18. per hr.= $216 x 123 wks. = $26,568.00 in unpaid

overtime.

                                         41.

      As a result of Defendants’ failure to properly pay Plaintiff her overtime

wages in accordance with the law, Plaintiff is entitled to liquidated damages under

the FLSA, said liquidated damages being equal to the amount of the unpaid

overtime wages due and owing, in addition to the unpaid overtime wages. This is

expressed as follows:

            $26,568.00 x 2 (Liq. Dam. multiplier under FLSA) = $53,126.00.

                                         42.

      Plaintiff is also entitled to attorney’s fees and costs under the FLSA, which

are an amount to be determined as litigation progresses.


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                                            43.

      Plaintiff’s job description while in the employ of Defendants was ‘Medical

Records technician’.

                                            44.

      None of Plaintiff’s duties with Defendants bring her within the ambit of a

recognized legal exemption to the requirement that she be paid minimum wage and

overtime; furthermore, Defendants did not consider Plaintiff to be an exempt

employee on their records. As such, by failing to pay Plaintiff for overtime that

she worked, Defendants are in violation of the FLSA. Plaintiff is entitled to her

litigation costs, including reasonable attorneys’ fees in accordance with FLSA §

16(b); 29 U.S.C. § 216(b).

             COUNT II---ATTORNEY”S FEES AND EXPENSES

      Plaintiff incorporates by reference the allegations contained in the above

paragraphs as if fully stated herein.

                                            45.

      Plaintiff is entitled to the costs and expenses associated with bringing and

prosecuting this action, to include attorney's fees, pursuant to applicable law as

contained within, and applicable to, the statutory causes of action contained herein

above.


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                               PRAYER FOR RELIEF

       Wherefore, Plaintiff respectfully prays as follows:

a)     that Summons issue and Defendants be served as by law provided;

b)     that Plaintiff be awarded judgment in her favor with respect to all

contentions in her Complaint;

c)     that Plaintiff be awarded actual and liquidated damages as proven at trial;

d)     that Plaintiff be awarded reasonable attorney’s fees and expenses of

litigation;

e)     that all issues triable by jury be tried by a jury;

f)     that all costs of this action be taxed to Defendants; and

g)     for such other and further relief as unto this Court may seem just and

equitable in the premises.

This 13th day of February, 2015.

                                                   /S/John W. Roper
                                                   John W. Roper
                                                   Georgia Bar No: 614159

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                                       VERIFICATION

        PERSONALLY APPEARED befo re the unde rs igned officer authorized to
admini ste r oaths in a nd fo r said County and State, the undersigned party litigant. w ho
being duly sworn a nd put to oath , does de pose and say that the allegati ons made in the
above fo regoing pleadi ng arc true a nd correct to the best of the pa rty·s knowledge and
belief.




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